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July 11, 2023
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VIA ECF

Honorable Gregory H. Woods
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Zivkovic v. Laura Christy LLC et. al., Case No. 1:17-cv-00553

Dear Judge Woods:

        Our firm has just been retained by Rosey Kalayjian, a non-party in the above-referenced
action. Pursuant to Paragraph 1.E. of the Court’s Individual Rules of Practice in Civil Cases, we
write to renew Ms. Kalayjian’s recent request – through co-counsel Fred L. Seeman – for an
extension of her July 12, 2023 deadline to oppose Plaintiff’s motion by Order to Show Cause for
an order of attachment. ECF No. 420.

        On July 5, the Court granted Plaintiff’s ex parte application for a temporary restraining
order pending the hearing of Plaintiff’s motion for attachment. On July 7, 2023, Ms. Kalayjian,
through Mr. Seeman, requested a two-week extension to oppose Plaintiff’s motion, her first request
for such relief. ECF No. 425. On July 10, 2023, the Court denied Ms. Kalayjian’s request without
prejudice to its renewal, instructing that any renewed request “clearly state whether Ms. Kalayjian
consents to continuation of the temporary restraining order through the briefing and resolution of
Plaintiff’s motion for an order of attachment.” ECF No. 427. Also on July 10, 2023, Ms. Kalayjian
retained our firm to represent her in this action. We filed notices of appearance earlier this
morning. ECF Nos. 428 and 429.

       Given the extensive history of this case as well as the voluminous nature of Plaintiff’s
motion papers, Ms. Kalayjian respectfully requests a 30-day extension (instead of the previously
requested 14-day extension through Mr. Seeman) of her deadline to oppose the motion, i.e., until
August 11, 2023. The extension is necessary to afford us a meaningful opportunity to fully review
the record, gather relevant facts, and effectively oppose the drastic remedy Plaintiff seeks. Ms.
Kalayjian fully understands that this extension will prolong the current restraints on her assets and
has authorized us to communicate to the Court that she consents to the continuation of the
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temporary restraining order through the briefing and resolution of Plaintiff’s motion. Should the
Court require it, Ms. Kalayjian is prepared to submit a declaration attesting to her consent for this
extension. If the request is granted, Ms. Kalayjian defers to the Court as to when Plaintiff’s reply
is due and the hearing on the motion is scheduled.

         As with Ms. Kalayjian’s original extension request through Mr. Seeman, Plaintiff’s counsel
refused to consent to this extension, despite the undersigned seeking the extension as a matter of
professional courtesy. Plaintiff’s counsel provided no reason for their refusal other than that they
were “not in a position to consent.” As the Court noted in its Order denying Ms. Kalayjian’s
application without prejudice, “Federal Rule of Civil Procedure 65(b) provides for the extension
of a temporary restraining order upon consent of the restrained party,” ECF No. 427, which consent
is clearly stated in the instant letter application.

           We appreciate the Court’s consideration of this request.

                                               Respectfully submitted,



                                               Michael S.
                                                       S Gordon


cc: All Counsel of Record




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